 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 1 of 13 PagelD #;

'

NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES DISTRICT COURT CAA
R CEIVED

MAY ? 6 7015
aX aw JO
He CaRUTON

Df fol If THOMAS G URT
txcedun Galer Abo CLERK, US. DISTRICT CO

 

 

(Enter above the full name
of the plaintiff or plaintiffs in
this action)
15cv4663
C: Judge John W. Darrah
CS, L (T Magistrate Judge Mana Valdez
Ts teen ie wl he Ub Lapev PC?

 

ptle, Aycrarse CDi Meee be féolit

 

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not
use “et al.")

CHECK ONE ONLY:

“Tart? DIM? amr Try

Lt AEX ABE COMPLAINT UNB LT ¢ ! T
LIX HL LV ib Riu misAwWi,iiin

CWE LA UNDER

Fi

U.S. Code (state. county, or municipal defendants)

ae = COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

feYOXA'IS6 OTHER (cite statute. if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.
Il.

 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 2 of 13 PagelD #:2

Plaintiff(s)}:

A.

B.

Name: (cals low les Mew

List all aliases: J L ro

Prisoner identification number: LT, LIGA

Place of present confinement: boas AC fa base (ode eared. ft =

pO

|
Address: Petrol. 17. bf oY SAB ott

  

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of empioyment in the third blank. Space
for two additiona) defendants is provided in B and C.)

A,

petendans: (ea MM Lo pusac

tide: — Lei ess aol bec Lassen

Piace of Employment: Lt. Lave 42 LL.

Defendant: _§ “Maram An fer

Title: Loeps

Place of Employment: Lease 20

Defendant: “Me > Aveiareses

Tiile: Bethe # C8 [anc 93S

Place of Employment: “22 Lee thal Jsites 12

(lf you have more than three defendants, then all additional defendants must be fisted
accarding to the above format on a separate sheet of paper.)

2 Revised 9/2007
 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 3 of 13 PagelD #:3

Tr
He eu (et te (lpn ob ee ak ode nfl, sh leslu ollie

et en So teael Wank Ax les ar Ler ff CS ol Z
fenths ce a oe! MMathord Aol Lol C& ( BO ai vel uc {k ope

A A Ldesl: Lonnpertes
Tiller Of ute Hey work.
Vee ol ffs ° Men Lh, £

ihe

TEL - ~
[ht Th aw Leg Hey re

Nece ol Lowey mend Al ( Ls cabins Lif ul.
Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 4 of 13 PagelD #:4

Ill. List ALL lawsuits you (and your co-ptaintiffs, if any) have filed in any state or federal
court in the United States:

 
 

A. me of case EP docket number: ef fe fi A ty
eb. G st lee Wetuose Caries ot Veoh w uber HA KDB

B. approximate date of filing lawsuit: (\ een Leosh A A 1%
C, List all plaintiffs Gf you had co-plaintiffs), including any aliases: dv l ole Len

 

 

 

 

 

 

 

E. Court in which the lawsuit way Hed (if fedesal court, & the district; if state court,
name the county): Altar lol Leare
F, Name of judge to whom ieee, assigned: pent Aube axe

ot dead vdg x

a. Basic claim made: DQ pee Ls. Laer 7 otter. [Limes , Cbust
Spavort Aceth

 

H. Disposition of this case (for a ‘as the case dismissed’? Was it appealed’
Is it still pending?): sc. f

 

 

I Approximate date of disposition: A ) a i Set A

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

Cn

Revised 9/200?
 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 5 of 13 PagelD #:5

—j or Gf fff
. £ [ Li : HL, Z CL V | p é f /
—_——_-. Lie A ae Cpls Pan LO ela ihe Y) Nae wall [Laie tLe art on

fo dein toe edd Lhe?

A Nowe al Leek tok pea hd grat scar Me howl fsx lil de: PF ase CL bees,

(. A is AAdke Bri CFG yr 7 i pte busitcares y £2 eg F wat obra of (
rebh vwk CHS? a UZ

A

fe A pofrerimde bal Abb. (mec , Np cenhow 3( 2 me A(7

Pla aad

CO. Lf ll fool tf Nouhal ral ag il, } boyd giles 4 Ang Al(e3cs
|

er’) yf fF f if
o we 1 eit ty ( Be; wt

mc CT

f “ %
[) ; f/ sf f i f Lg if
13 af. fof /, fF / . .
er Lae SLA Atlengle le: LZ if } fovf if
ve / feleca bmw Fa. ui LY {fof /

Cra Mls Leguovg

ft fe
CoS bts ESCA S See,

o Le b tg frecles j ete, pees le

t, Ce pence: Coord, 4h, [
Ves ee Je coon \* Su Sd bw elle Cay op on twt thie helveck, i sGG Cot

Lec. oo 72
mle Bf

U. si fs A. / f ‘
\ et (% thee, oc (
a oon CaS - Uae 8 ary S (snes k f eee iy OB goign Sat t 2 au
gfe Sep te foe Hh oli ,

f eget. (ude

(>. (2. <t clewm mele, A Cc meg

Te 0 gaye dete 4 rw et, letet & f

—

pe: [ \pow eR ite fa L z é Gr rye o chi fo ~
J ’ < re Ve / Lot Se Lever mea Becmy Law
tf |
i ;
\. + ley af heen & rf £ ry | | r f
T Lal . fo Come al C- Was (le case desasaeee WAR Peyipee (cd ‘
a= Slt Ae A “Ls 2S f

_ af pnw Soar

“et oo
__ , ty Doe hr / f f % f
pos uy f? gue d f ele f | . fo
ji tee & Artostya’ AU /

é x Sic

—~
 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 6 of 13 PagelD #:6 ‘

a ‘\. wae. Cece ea ak ae ae A. foLy (4 LL A rercb lial

Ci, ie baad Pole C Le rille cart de f
Her people Yodel de fou a i th Cope Sg

Wee bec

 

Id, Appooermele ef of Lf (my [seoxeenks Jere oc LOE

( f al \ bai p Leal LL crak AE atten tes class’
! gi alial “4 ees bo,

i
\ Led all diferent Kcr Pale ligadmels, FE BR oneLoaly Lasll
Vary Cowebr Ske cd, Moo lava (NESYG Kerr gent (f dtee cop le

™

Ge, LECH deal rome Hyd ty lL +f? al ond
ees ee Lowa 7 A ee / / Ze A K © “ : stab ( we

fo, ee ce te
ec { \
I- Jeane ol (O be AS hon Leb

"ey Ce

77 [
ep.” 29 20Signed } SU See lec fas

oa je Be

p |
Lf i = peRrhen Le hie 2 Le f od J

! “H Li a ' } ( Aa AAR
Ts i Hohl 4 Bud 4 yr\e real. baw sc a ASmsot s Was afd

A ( () (2 Xf exh Ale of A ig othe’ A} Lf Sx A
 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 7 of 13 PagelD #:7

Tf
sor Pn fA sds veda pce ~peudtie, ten) bac (Aarts <tele Adis id

(ever ia LA

fA {|

M, Meal onf led males Mee loyal Vahl Sele

Aero ves behecg apes gal, POLO (6 vee fx Gon
SL le SE ERY oc0 ene apg

id, A, proxtnee dee af G Covel ity, (aagiert® CQ. ret. by pre [ cn Flecee DK

C ' [fk alll il ei ih Mt L. Leap seal a) E raeles Ae gency clearness
oe C 2. cles Meso

Loe ee

 

ff Vy /
LN Lat ff de erie gales LI I les, Koss alee: (pel wearted Cer
LOO, v on is Ag Shes Le Cone lad bv Aetd é a Ell ai 30 £48 |
fe tee pe Cow cof le

po

i / [. /
fe. Lod Aw eh a He Suck 2 eslld( dll taf hy he oad Uae Avucd \ [bbe rand

penta ety VK CL ek
eet oye <
7 Es

om Dae

f ry ;
I Z Nd ol- betloclrvn Core (£4 4 Becanel! OS easy [Sake Bon

KO
prvylee. A feraal dere
é SD

r

OB. Pore Ht Cl (oreo
z\ a1" mer | rr lee Cheves, Lert hed St yp

({ 1 (\, = Mt bres db de hig age cole ae, {(, 2 leat bi sual? Us d 4) aneles

i gweshll edi ASL oe A AID cy 1 eH (fey
Let Arerses oH PTE | 26 IE OEIC OIE tds, WEY 27 ca.
CFECl (a Cael

f /r | 7 : {| / f
& Appice dat, bd is foshou’ Als L seth
Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 8 of 13 PagelD #:8

 

Wry fg an OP \ ; .
/ I / f | ff A. f it po \ \ f or | ., ji ee
(~~ ALL (asec fe et a gee hem RAS NT [ROst “tk eave er be vel

fj
Fen ah d ; bing Ch ectits ct Vea lee :

/ p 7 i / A

( [ \ f / f ( / f f

jj | { / t { } f ; +f f

AA : New ert ov fe SC Bond fe " yee / - SAA BA by ; { foc ete iv £ g ofé La oy Lo (
of Appt logs fom / f°” pope

Al me FWY Loz wv, P45 peg t Az S ef. ales of Lh apie» wht t Ve va fe olyye toa

/

YW | i rt acpeel Nell thy dys weet, eed
™~ SIS ey i eS me _

(CC Arte eant te LE /
L Soni Se ee LEP: « XC. -B ale s [fete

 

é ff if / iff fet / Me /
| te al 2 Ae Te orm | Tay
(4 tell pw Ws (1b bom had or Neca ati heabras Ary UALS

we” , “; V
go Me Lee sity Od “(ty . CZ 0

a ™~

\ { r i ( / , / ., / J if

| J. tS ASS A thateadlc SiC he “4 fe zl ( A be SLR Cutt OL palling bos CEL SCA Neh
D9 ZL 7 y (7 fff Af /

 

gor fy we LES f Ht iy | tye £ fore sed

; ” / y / a # : fp , Sof i

f i | f /

bem ( Covel L,| 4 Pee eegetil (tte Gels { (

Le Cov #1 “ite 7 een CLUS 1; bed sum fQoy’, pst tly bdued pth Cd lout,
yy

Af
treet re cevah 7. / /

KO ANS - 2" esmpeat Ly Cay

i i iz

T |
y ;
L fl fo, & af ;
( VJ pet te Ce oe SN Uae [ESC Baie ASQ(4 i604 ) |
\ , } ¢ pice Sey ey ONES ar
mI Ld oe _/ Ly Ft nen Pe

y of \ 3
ff oN “| A ke my

mt Woe ye  stensal, | I cH)
¥ t ] e | e (e/ Da o J | by C \oe =f & ef CY; tn ict LL atl; Hehe Lag wSStea . Lee ‘Castes LA f
Vs et F a Af (cel AL “4 oh : He 4

{
4

f
se fe 4 / '
df iLL f ") /j!
/ ; PYM iret dale d J ‘Sf oo |ti0.. SIRT Sk |

}

a,
 

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 9 of 13 PagelD #:9

Ty, Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
invoived, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. |f you intend to allege a number of related claims. number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets

if necessary.)

Thos (ory? eb, of- Moses. Lableg Lag Let gh he.

plac, oe OI La Hell Cgusee, oe Tee Yew. eck Coat dbo

bree Manas, Cdbag, blew Male | Liquocey puis xt. tnontys bi
ty vi, clea LS tree Here vill Lael [foe Alap tes bus
Lk L ver de Reece Rech Suen Reel des, acd. Len beat ts Ce l
a bene cheno coco ile L eet Ae LET cd by bud ol pasee
altel Hees lous hea ae) pa we Hocaty LL Lz bee watt fae ch

vel Lf Ay on Cael al Lle ste bk lus ta tle woboalar Gurl
4! Molod. bene és sal ess be add soos atts Lend Ld, Cderesind

ot les iA, L heb. Lh mburl Lol gbhide Gd ube a clone

IS ey fasted Cor we weber wre he cas peporsed ml oral wy allen,
Told pesiecl poop peace if bores al ans abl Zee Cred seme ih
srsuchs siercrnnpeansa veloc Rd loses 4 cbhcasy abs egpotled Tad bow tn
cb tlee eo (rox ‘Oat, Liquor a Mo rossviey Ube bale al Maire ob
L. Looe Mihaas.1b hve ta cont fants (Bes wes the, Loris toast ob Me be bye
that ps wll sna ic oud 4 ne thet foal cad ly adeua bee, lone scab hen

sada alll Ae,.1 aon al fala Lich “Lhd th van lb

4 Revised 9/2007

 
 

* Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 10 of 13 PagelD #:10

Vv, Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

Bk Za caksl Zl tb Hee cbetocy Llreol Lyall be esaanck (one

eefiaa foe crvil pacer LESCS

 

 

 

 

VI. The plaintiff demands that the case be tried by a jury. D YES CJ NO
sec A we

CERTIFICATION
By signing thts Complaint, | certify that the facts stated in this
Complaint are true to the best of my knowiedge, information and
belief. ] understand that if this certification is not correct, | may be
subject to sanctions by the Court.

Signed this day of <4... ,20

Lah. Zt M

(Signature of plaintiff or plaintiffs)

wud Lack. Ge Aloe

(Print name)

Lite

ee Nemes) “dived Coattdnel Leber
Wie

De AK

 

(Address)

Fy
mm
és
=

7
 

i" Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 11 of 13 PagelD #:11

 

WW, Haste,
ark of the Circuit Gourt

tT
Kane County, IL

CAVE OF LLLINGTS) ve 20

FILED 007

yo.
COUNTY OF KANE 2 ava

INTHE RCO COURTOP HE SUTEENTH SUDICTAL.
CCU CORT WANE COUNTY, TLETNOIS

OQvcala Cy Nase. 1c. be eAnoonctd
witlecescs of other (Bu hPooms

V ) of O2CEIGA,O2CEBW
) O2CF2

Mhaots Lfleny, Oka Abll L quar )
dr busca, Longgnes chu popes . )

MOVION FOR CIVIL

NOW COMES tot Cee Corey Moore, Heal 2 Mase cHeney
Ap alla (on Zael ic bru attorney Ca Mohion br Cuil ance aHtmne/ L. uy cr} be.
a parted an MALS Yue Lenore Coned-pereuaal fo Nebor fLosledray odiceal orsil,
SN helte cmitdy as Lreguestand in suptorto Fables the (lowing

 

 

 

rhe loi bobby Wad, teyedat O Le A le Lug Vow" fet Maatysatny I,
whidndbe Mega Milltoes Pruesbonl{ Thiers bellery WAS Yor G1 this day
H

1. Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page 12 of 13 PagelD #:12

-_—.

aE

2 The. people at Ole fl ll, Liquor ) Leow, that there wee a wer, i

iA the VE Gas of I@- ay het Tas Here, <# fea Mille Ligue ; hen of hagpeec d Thed- z
Emanuel Beas, Queabu Coley Moore vas the grey! Codthe LAr]

Att Be aad teat tee One me Money, covet af tls xn ot
THanoee |ellery, Lad thave {Ss alse Thnos [Lolly knw Hat seythapore WA Mandya

Lae ot hus et,

Net deb LES Lon, T asad my mony rom thew Ltn, ot!
he THlenos {cleny, Neg Mibiors, Boeell wheel of 4 rrevfoe Moths bothey,

WHEREFORE, parsvort f. Metron £ Lis , abe. pwdicial cast

Bey of asl fat reguteles thie (snorable Caoet b do as li ech cok takrcotorker
Qo had Jo wet thet this COL 4p fo aA Arthas (60 PERM M0 f of PHD {
(1 Vaart Couy Vdtctal fei tho bi tlnnt skets atforrey astof fae

CORLS poading

RAR = SUBMITTED

 
jel #0

ge

Case: 1:15-cv-04663 Document #: 1 Filed: 05/26/15 Page-13 of 13 Pa

Sa IT

 

a be

(
“7 "HE Pt
{ j (-4 "
_ ,
\ ) ( ‘ :
\ a 4 .

 

Lapa

OR Ava. 2043

7690.17-000-bg¢6

 

 

15cv4663
Judge John W. Darrah
Magistrate Judge Marna Valdez

PC1

 

i j /
i }
i j i
i i |
i |
| a+b {
j 4 c Lg —
fof i wo j i ( ( Vf if
a Lx q > { Ne Ls f i
!

i ’ Foye be
Pog bye OF ps if Veet ,
fs ‘ “1 pte ; ]
' “ Cop Ff ROT
| CP re | \/~ j io fv 4 i
“Pd Pepi SSF LOOT } fi PENS
Yay i ( Ae Mohgaee Ng ott . \ 3 1
yy A Lou. L*\ } \ : anna fe / VAL
'
{ '
Le ‘.
